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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                           Richmond Division

    In re:                                                                 Case No.
                                      1
              LeClairRyan PLLC,                                            19-34574-KRH

              Debtor                                                       Chapter
                                                                           7


        TRUSTEE’S RESPONSE AND LIMITED OBJECTION TO MOTION OF MICHELE
            CRADDOCK FOR LIMITED RELIEF FROM THE AUTOMATIC STAY

             Lynn L. Tavenner, Trustee, and not individually but solely in her capacity as the Chapter

    7 trustee (in such capacity, the “Chapter 7 Trustee” and/or the “Trustee”) of the bankruptcy

    estate (the “Estate”) of LeClairRyan PLLC (“LeClairRyan” and/or the “Debtor”), in the above-

    referenced Chapter 7 case (the “Case”) hereby hereby files this response and limited objection (the

    “Response”) to Motion of Michele Craddock for Limited Relief from the Automatic Stay, ECF No.

    83, filed by Michele Craddock (“Ms. Craddock” and/or “Movant”) and, in support thereof, states

    as follows:

                                                      Background

             1.      On September 3, 2019 (the “Petition Date”), the Debtor filed for relief under

    Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy



    1
      The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and the
    last four digits of the Debtor’s federal tax identification number are 2451.


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 Code”). Pursuant to §§ 1007 and 1108 of the Bankruptcy Code, the Debtor operated as a debtor-

 in-possession.

            2.       On September 12, 2019, the United States Trustee filed its Motion to Convert Case

 to Chapter 7 (the “Motion to Convert”) and notice thereof. ECF No. 61. At a hearing on

 September 26, 2019 (the “September 26 Hearing”), the Court denied the Motion to Convert.

            3.       On or about September 18, 2019, Michele Craddock (the “Movant”) filed her

 Motion of Michele Craddock for Limited Relief from the Automatic Stay (the “Motion for Relief”).

            4.       On September 20, 2019, Ms. Craddock filed her Supplemental Statement in Support

 of the Motion of Michele Craddock for Limited Relief from the Automatic Stay, ECF No. 93.

            5.       Per agreement between the Debtor, the United States Trustee, and ABL Alliance,

 LLLP (the “Lender”), the Debtor’s bankruptcy case was converted to a case under Chapter 7 of

 the Bankruptcy Code on October 4, 2019 (the “Conversion Date”).

            6.       Upon conversion, Lynn L. Tavenner was appointed interim trustee, and she

 continues to serve in that capacity.

            7.       As of the date of this Response, the Debtor has not filed its Schedules and

 Statements, the Trustee has not held the section 341 meeting of creditors, and the Trustee is still

 gathering information.

                                        Response and Limited Objection

            8.       The Trustee does not object to the extent that any relief granted does not impact the

 Estate or property thereof. Furthermore, the Trustee does not object to the relief sought based upon

 (a) information received from the Debtor’s former employees2 and/or management that there is


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     This “employment” characterization is simply used to describe the Debtor’s business and is not intended to ascribe


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 insurance coverage for amounts sought; and (b) Ms. Craddock’s representations that (i) the relief

 she seeks will require no significant expense from the Estate and (ii) she will agree to reasonable

 language in a consent order addressing the Trustee’s concerns related to the same. And, the Trustee

 respectfully requests that any order entered grating the relief sought in the Motion for Relief

 provide that neither the Trustee nor the LeClairRyan Estate have any future obligations of any sort.

          9.       The Trustee, through counsel, is currently negotiating the form of order.

          10.      Until a form of order has been agreed upon, the Trustee reserves the right to object

 to the relief sought in the Motion for Relief.

          WHEREFORE, the Trustee respectfully requests the Court not grant the relief requested in

 the Motion for Relief until she has agreed on the form of order.

                                                Respectfully submitted,

                                                LYNN L. TAVENNER, CHAPTER 7 TRUSTEE

  Dated: October 22, 2019                       By: /s/ Paula S. Beran
  Richmond, Virginia                            Paula S. Beran, Esquire (VSB No. 34679)
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                                                David N. Tabakin, Esquire (VSB No. 82709)
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                                                         Counsel for Lynn L. Tavenner, Chapter 7 Trustee




 any type of legal connotation to the relation between the Debtor and any attorney that the Debtor held out to the public
 as a LeClairRyan attorney.


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of October 2019, a true copy of the foregoing
 Trustee’s Response was sent by electronic delivery to:

 Robert B. Van Arsdale, Esquire
 Office of the United States Trustee
 701 East Broad Street, Room 4304
 Richmond, Virginia 23219


 MICHAEL WILSON PLC
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 Counsel to Michele Craddock

                                               /s/ Paula S. Beran
                                               Paula S. Beran, Esquire
                                               Counsel for Lynn L. Tavenner, Chapter 7 Trustee




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